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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  JPMORGAN CHASE BANK, N.A.,                     )
                                                 )
                         Plaintiff,              )
                                                 )
                v.                               )
                                                 )
  CHARLIE JAVICE, OLIVIER AMAR,                  )
  CHARLIE JAVICE, in her capacity as Trustee     )
  of CHARLIE JAVICE 2021 IRREVOCABLE             )      C.A. No. 22-01621-JDW
  TRUST #1, CHARLIE JAVICE, in her capacity      )
  as Trustee of CHARLIE JAVICE 2021              )
  IRREVOCABLE TRUST #2, and CHARLIE              )
  JAVICE in her capacity as Trustee of CHARLIE   )
  JAVICE 2021 IRREVOCABLE TRUST #3,              )
                                                 )
                            Defendants.          )



              PLAINTIFF’S BRIEF IN RESPONSE TO DEFENDANTS’
          MOTION TO LIFT THE PSLRA’S AUTOMATIC DISCOVERY STAY



                                                 POTTER ANDERSON & CORROON LLP
  OF COUNSEL:                                    Peter J. Walsh, Jr. (#2437)
                                                 Michael A. Pittenger (#3212)
  William M. Regan                               Jonathan A. Choa (#5319)
  Allison M. Wuertz                              Carla M. Jones (#6046)
  HOGAN LOVELLS US LLP                           Hercules Plaza
  390 Madison Avenue                             P.O. Box 951
  New York, NY 10017                             Wilmington, DE 19899
  (212) 918-3000                                 (302) 984-6000
                                                 mpittenger@potteranderson.com
                                                 pwalsh@potteranderson.com
                                                 jchoa@potteranderson.com
                                                 cjones@potteranderson.com

  Dated: June 15, 2023                           Attorneys for JPMorgan Chase Bank, N.A.
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         Plaintiff JPMorgan Chase Bank, N.A. (“JPMC”) respectfully submits this brief in

 opposition to: (i) Defendant Charlie Javice’s motion to partially lift the automatic stay of

 discovery provided for in the Private Securities Litigation Reform Act of 1995 (the “PSLRA”);

 and (ii) Defendant Olivier Amar’s parallel and duplicative motion to partially lift the PSLRA

 stay.

                                 PRELIMINARY STATEMENT

         JPMC opposes Javice’s and Amar’s motions requesting a partial lifting of discovery for

 three reasons: (1) Defendants misrepresented JPMC’s position on their motions, as JPMC

 indicated it had no position on a motion to open full discovery; (2) Defendants seek a one-sided

 discovery process that benefits them only, the opposite of what is contemplated by the Federal

 Rules of Civil Procedure; and (3) full discovery allows both parties to pursue evidence

 supporting their respective claims and defenses, and JPMC has identified below specific

 discovery that would support lifting the PSLRA’s stay of discovery. Accordingly, if the PSLRA

 stay on discovery is lifted, full discovery should be allowed, including depositions and third-

 party requests, so that both JPMC and Defendants are allowed to develop facts to support their

 claims and defenses. Otherwise, Defendants’ request for partial discovery for their benefit

 should be denied.

                                  RELEVANT BACKGROUND

         In late May, Javice (acting through counsel) contacted JPMC with the following

 message: “We are writing to seek your position as to whether you would agree to open full

 discovery in the above-referenced matter.” See Walsh Dec., Ex. A (May 21-29, 2023 Email

 Correspondence Between JP Kernisan and W. Regan), 3-4 (emphasis added). In response,

 JPMC asked Javice to clarify that “full discovery” included actual participation by Javice in the
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 discovery process (i.e., that Javice would produce documents and provide deposition testimony

 to JPMC without invoking her Fifth Amendment right against self-incrimination). See id. at 2-3.

 Javice responded that she “does not agree to waive anything” and “reserves all rights” but again

 asked that JPMC provide its position on “agreeing to lift the PSLRA stay and open full

 discovery.” See id. at 2 (emphasis added). JPMC responded that it would “take no position” on

 Javice’s proposed motion to open full discovery. See id. at 1-2.1

          In filing this motion, however, Javice disregarded the entirety of the meet and confer

 exchange, filed a motion to lift the PSLRA stay solely as to document discovery, and indicated

 that JPMC took no position on the motion. JPMC, however, never represented that it took no

 position on a request for partial, documents-only discovery because Javice never attempted to

 meet and confer on that request. To the extent the Court considers lifting the PSLRA discovery

 stay in response to Defendants’ motion, it is JPMC’s position that the Court should lift the stay

 as to all discovery (including but not limited to depositions of Javice and Amar). JPMC opposes

 partial, selective discovery that only favors Defendants.

                                            ARGUMENT

     I.   JPMC OPPOSES JAVICE’S AND AMAR’S REQUEST FOR A PARTIAL LIFTING OF THE
          DISCOVERY STAY; IF DISCOVERY IS OPENED, FULL DISCOVERY SHOULD BE
          ALLOWED.

          If the PSLRA stay is lifted, Defendants’ request for partial, documents-only discovery

 should be denied, and instead full discovery for all of the parties should be allowed, including

 but not limited to depositions of witnesses with knowledge of relevant facts, such as Javice,


 1
         Shortly before Javice’s request to JPMC, the United States Attorney’s Office for the
 Southern District of New York (“SDNY”) had filed a motion to stay the SEC action filed against
 Javice (SEC v. Javice, No. 23 Civ. 2795-LJL (S.D.N.Y. May 24, 2023), ECF No. 19-20). Given
 the SDNY’s position in that case, JPMC advised Javice’s counsel that it should ascertain the
 position of the SDNY before filing a motion in the instant case.


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 Amar, the data science professor retained by Javice, investment bankers retained by Frank for

 JPMC’s acquisition, Frank’s former employees, Frank’s Board members and investors, and

 Javice’s accountants.

        A.      Javice and Amar Misrepresented JPMC’s Position on a Partial Lifting of the
                PSLRA Discovery Stay.

        As an initial matter, Defendants’ request for a partial lifting of the PSLRA discovery stay

 should be denied because Defendants misrepresented JPMC’s position to the Court and, in fact,

 the parties have not met and conferred regarding a request for partial opening of discovery for

 document productions only. During the meet and confer process, Javice expressly stated on two

 occasions that she intended to file a motion asking this Court to “open full discovery.” In

 response, JPMC advised that it was the plaintiff in this action and stood ready to engage in full

 discovery, and in particular to depose Javice and Amar and question them directly about their

 fraud. Javice then pulled a bait-and-switch, filing a motion seeking the “partial lifting” of the

 PSLRA stay to allow for documents-only discovery and falsely stating that JPMC had taken no

 position on Javice’s request to partially lift the stay. Not true: JPMC took no position only

 when Javice’s proposal was to open full discovery. On this basis alone, Defendants’ motion is

 improper and should be denied.

        B.      Defendants’ Request Is One-Sided and Contrary to Discovery Envisioned
                Under the Federal Rules of Civil Procedure.

        Defendants’ request for a partial lifting of the stay is also improper because it represents a

 request for one-sided discovery that is intended to be beneficial only to Defendants. Throughout

 her brief, Javice repeats a narrative that she has no documents to defend herself and JPMC




                                                  3
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 possesses the relevant evidence in this case.2 Javice Br. at 1-4, 12-17. Based on Defendants’

 premise, a partial lifting of the stay to allow for documents-only discovery is tantamount to

 sanctioning a discovery process where JPMC is the only party providing information, almost

 certainly in response to discovery requests that would amount to a fishing expedition. In fact,

 Javice already made clear that she will not answer any discovery, written or otherwise, related to

 the more than $9 million dollars she appears to have fraudulently conveyed or the systems

 passwords she has misappropriated. 3 Defendants’ notion of a selective discovery process is the

 opposite of what is contemplated by the Federal Rules of Civil Procedure, and the Court should

 reject it. See, e.g., Lawson v. Love’s Travel Stops & Country Stores, Inc., No. 1:17-CV-1266,

 2019 WL 5622453, at *4 (M.D. Pa. Oct. 31, 2019) (“[T]he legal principles governing the[

 parties] reciprocal discovery obligations are fixed, firm, and absolutely symmetrical.”); Liguria

 Foods, Inc. v. Griffith Labs., Inc., 320 F.R.D. 168, 183 (N.D. Iowa 2017) (quoting Sentis Grp.,

 Inc. v. Shell Oil Co., 763 F.3d 919, 925 (8th Cir. 2014)) (“Rule 26(b)(1) does not give any party

 ‘the unilateral ability to dictate the scope of discovery based on their own view of the parties’

 respective theories of the case,’ because ‘[l]itigation in general and discovery in particular . . . are

 not one sided.’”).



 2
         In its first-filed motion for discovery, JPMC noted that Javice has refused to turnover
 access to JPMC system passwords. Javice opposed discovery in that motion and, in this motion
 too, she indicated that she plans to object to any non-document discovery on that topic. Javice
 cannot have it both ways: she cannot claim to have no access to discovery but continue to
 withhold passwords to JPMC’s systems.
 3
         JPMC filed its own motion to partially open discovery on these two discrete issues
 related to Javice’s transfer of merger proceeds to an apparent shell company and her continued
 possession of JPMC property. See ECF No. 28-29. In that motion, JPMC provided specific,
 fact-based reasons as to why discovery on the two topics is urgent and should occur before the
 Court rules on Amar’s motion to dismiss. In contrast, Javice provides no facts related to her
 core arguments that discovery will somehow explain that, among other things, her
 misrepresentation that Frank had 4.265 million customers was not fraudulent.


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        C.      Full Discovery Allows Each Party to Pursue Evidence in Support of Their
                Claims and Defenses.

        Defendants’ “heads, I win; tails, you lose” approach to discovery is built on a 26-page

 unsupported narrative that the discovery process will “exonerate” them. Javice Br. at 1-2, 9;

 Amar Br. at 1. Defendants, however, have no appetite for a discovery process that would allow

 them to be deposed and questioned under oath. The Court should not sanction a discovery

 process that aims to allow Defendant to try to “exonerate” themselves, as it would be unduly

 prejudicial to permit special treatment for Defendants while denying Plaintiff the discovery it

 seeks to prove their claims. Instead, it should allow full discovery where all the parties can

 pursue evidence supporting their respective claims and defenses. As required to conduct

 discovery under the PSLRA while a motion to dismiss is pending, 4 JPMC identifies below

 specific discovery and information needed to support lifting the PSLRA’s stay on discovery.

        This case involves a calculated scheme to defraud, originating at least ten months prior to

 the Merger Agreement. Defendants’ fraudulent scheme is documented extensively in emails and

 Slack messages and, in light of Defendants’ unfounded claim that these emails were cherry-

 picked, JPMC wants to move forward with prompt depositions of Javice and Amar. JPMC made

 its desire known during the meet and confer process, and Javice already has stated that she has

 no plans to waive her Fifth Amendment rights. That certainly is her constitutional right, but it is

 not a basis to limit discovery that Defendants have asked to be opened. In short, deposition of

 the parties is a specific form of discovery justifies lifting the PSLRA’s stay.

        Similarly, Defendants’ requested approach to discovery would prevent JPMC from


 4
        Specifically, a party seeking discovery must “‘specify the target of the requested
 discovery and the types of information needed . . . .’” Winer Fam. Tr. v. Queen, No. CIV.A. 03-
 4318, 2004 WL 350181 (E.D. Pa. Feb. 6, 2004) (quoting In re Lernout & Hauspie Sec. Litig.,
 214 F. Supp. 2d 100, 108 (D. Mass. 2002)).


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 deposing third-party witnesses to determine what they heard Defendants say in meetings and

 what they saw in documents. Here, JPMC seeks to depose: (1) the data science professor that

 Javice hired to create a fake list; (2) the marketing vendors that Amar hired to supply email and

 mailing addresses for 4.5 million college students; and (3) the investment bankers who

 represented Javice’s dealing with two potential buyers and saw decks where Javice expressly

 pitched the business strategy of marketing to Frank’s historical and current customers (this

 contemporaneous pitch material is wholly inconsistent with Javice’s core defense for this case). 5

        Next, JPMC seeks discovery from a number of former Frank employees who followed

 Javice’s instructions in January 2021 to change all public-facing student customer numbers to

 4.25 million users but privately expressed disbelief at Javice’s claims. 6

        More specifically, right at the time Javice was meeting with an investment banker in

 January 2021 to persuade the banker to take Frank on as a client, Javice directed her team to

 change Frank’s public-facing numbers to state that Frank had 4.25 million student customers. 7

 To justify this number, Javice told certain members of her team that she had changed Frank’s


 5
          Walsh Dec., Ex. B (April 3, 2021 Talking Points) (“Data: FAFSA application has 136
 data points and covers all financial product KYC & apps (like students loans & bank accounts).
 [Bank Buyer] could seamlessly upsell / cross sell customers with a complete profile with one
 click. Competition? Frank will either build the card & account products in the next 12-18
 months or you can move now.”); Walsh Dec., Ex. C (Frank Pitch Book), 9 (“The Frank Solution
 . . . Post-College Student Loan Repayment, Credit Cards, Bank Accounts, Investment Accounts .
 . . Frank is a centralized suite of products where students can apply for and other financial
 products after they file FAFSA for seamless KYC and onboarding.”); id. at 12 (listing “bank
 accounts” as a driver of sustainable growth); id. at 14 (“136 question Student FAFSA survey
 provides user-approved access to unparalleled data and insights?”); Walsh Dec., Ex. D (July 22,
 2021 Javice Email) (during due diligence, Javice specifically stated to JPMC that she envisioned
 a plan to “Embed Chase Card Services with Frank: The Frank Scholar Card,” which would
 “Integrate into Frank FAFSA Flow.”)
 6
        Walsh Dec., Ex. E (January 11, 2021 Slack Exchange).
 7
        Walsh Dec., Ex. F (January 19, 2021 Slack Exchange) (“please change the [home
 page]”).


                                                   6
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 reporting metric such that website visitors now would be treated as “users.” In private Slack

 messages, junior members of the team expressed uniform disbelief:




 Walsh Dec., Ex. G (January 11, 2021 Slack Exchange);




                                                 7
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 Walsh Dec., Ex. E (January 11, 2021 Slack Exchange). Other members of the team privately

 wrote to each other: “Are we setting ourselves up for [a] rough reckoning in diligence.” 8 The

 groundswell of concern prompted one Frank executive to ask Javice to “please wait” 9 to change

 the number, at which point Javice turned to her second in command, Olivier Amar, and

 instructed him to “make [the] numbers happy.” 10

        After changing Frank’s reporting metrics and public-facing numbers in January 2021,

 Defendants then populated a data room and made express statements in pitch meetings for JPMC

 regarding Frank’s user base. These statements were memorialized by dedicated notetakers, and

 the evidence shows that Javice reported Frank’s 4.25 million users to JPMC based on Frank’s

 prior reporting metric, namely consumers who created a Frank account by providing their name,


 8
        Walsh Dec., Ex. H (January 5, 2021 Slack Exchange).
 9
        Walsh Dec., Ex. F.
 10
        Walsh Dec., Ex. I (February 25, 2021 Slack Exchange).


                                                 8
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 email number, telephone number, and password. Walsh Dec., Ex. J (Due Diligence Meeting

 Notes), 6. In short, the foregoing events involving Frank’s former employees represent specific

 discovery that JPMC seeks to develop via depositions and should be allowed to do so if the

 PSLRA stay is lifted.

         Finally, Javice claims that JPMC has cherry-picked emails from Frank’s systems to

 support its fraud claim. Although JPMC disputes this claim, it is telling that Defendants never

 (1) argued in any of their pleadings “I did not provide JPMC with a Fake Customer List” or “the

 list was not fake because I actually had 4 million users, (2) pointed to any list that would

 substantiate Frank’s claims that more than 2 million of their customers had started Frank’s

 questionnaire regarding FAFSA (as Frank’s data room unequivocally represents); or (3) offered

 any explanation regarding millions of email addresses for college students that were purchased

 on the open market but provided to JPMC as “Frank’s users” during JPMC’s marketing

 campaign. These topics, which are not exhaustive, are specific discovery topics that JPMC seeks

 to raise with witnesses if the Court grants full discovery.

                                           CONCLUSION

        JPMC opposes the Javice and Amar motion for a partial lifting of the PSLRA stay. If the

 Court decides to allow discovery to proceed, it should order full and open discovery to avoid undue

 prejudice and direct all parties to fully participate in all of the discovery contemplated by the

 Federal Rules of Civil Procedure.




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                                        POTTER ANDERSON & CORROON LLP
  OF COUNSEL:

  William M. Regan                      By: /s/_Jonathan A. Choa______
  Allison M. Wuertz                         Peter J. Walsh, Jr. (#2437)
  HOGAN LOVELLS US LLP                      Michael A. Pittenger (#3212)
  390 Madison Avenue                        Jonathan A. Choa (#5319)
  New York, NY 10017                        Carla M. Jones (#6046)
  (212) 918-3000                            Hercules Plaza
                                            P.O. Box 951
                                            Wilmington, DE 19899
                                            (302) 984-6000
                                            mpittenger@potteranderson.com
                                            pwalsh@potteranderson.com
                                            jchoa@potteranderson.com
                                            cjones@potteranderson.com
  Dated: June 15, 2023
                                        Attorneys for JPMorgan Chase Bank, N.A.




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